       Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 1 of 15 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                      ADMIRALTY

                                     CASE NO. ______________

RAHUL KUMAR,

        Plaintiff,
v.

MAGICAL CRUISE COMPANY, LIMITED
d/b/a Disney Cruise Line,

    Defendant.
______________________________________/

                                      SEAMAN’S COMPLAINT

Plaintiff sues Defendant and alleges:

     1. Plaintiff, RAHUL KUMAR, is a citizen of India and a seaman within the

meaning of 28 U.S.C. § 1916 and who is permitted to file this suit without paying

the filing fee or costs.

     2. Defendant, MAGICAL CRUISE COMPANY, LIMITED. d/b/a Disney Cruise

Line (“DISNEY”), is a foreign corporation incorporated in London, England which

has its worldwide headquarters and principal place of business in Celebration,

Florida.

     3. Defendant, at all times material hereto, personally or through an agent;

        a. Operated, conducted, engaged in or carried on a business venture in

           this state and/or county or had an office or agency in this state and/or


                                                           1
                L    I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                                WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 2 of 15 PageID 2




         county;

      b. Were engaged in substantial activity within this state;

      c. Operated vessels in the waters of this state;

      d. Committed one or more of the acts stated in Florida Statutes, Sections

         48.081, 48.181 or 48.193;

      e. The acts of Defendant set out in this Complaint occurred in whole or in

         part in this county and/or state.

   4. Defendant is subject to the jurisdiction of the courts of this state.

   5. The Court has subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1333.

   6. The causes of action asserted in this Complaint arise under the Jones Act,

46 U.S. Code § 30104 et seq., and the General Maritime Law of the United States.

   7. The Plaintiff requests an advisory jury pursuant to Fed. R. Civ. P. 39(c).

                                 PRELIMINARY ALLEGATIONS

   8. At all times material hereto, Defendant DISNEY owned, operated, managed,

maintained and/or controlled the vessel Disney Magic, and operated same under

a flag of convenience.

   9. At all times material hereto, Defendant DISNEY had a non-delegable duty

to provide prompt, proper and adequate medical care to its crewmembers,

including the Plaintiff. This included a non-delegable duty to provide and/or select

competent and duly qualified medical personnel to treat crewmembers, including


                                                           2
                 L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                                WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 3 of 15 PageID 3




the Plaintiff. Delegating the duty to provide the Plaintiff with prompt, proper and

adequate care does not alleviate Defendant DISNEY’s non-delegable duty.

   10. At all times material hereto, Plaintiff was a member of the crew and

employed as a seaman aboard Defendant DISNEY’s vessel in the capacity of Dining

Room Server and was working in the service of the vessel.

   11. At all times material hereto, the vessel was in navigable waters.

   12. At all times material hereto, the Plaintiff worked and lived aboard the vessel.

   13. At all times material hereto, Defendant DISNEY created a work environment

where crewmembers, like Plaintiff, are rushed to complete their duties and sent

back to work before the true nature and extent of their injuries are determined.

   14. While working aboard the Disney Magic, Plaintiff was required to carry and

transport heavy materials without use of suitable personal protective equipment,

transport equipment and/or sufficient assistance, including performing these

duties on uneven surfaces and/or inclines.

   15. On or about August 22, 2019, as a result of his long working hours and

repetitive heavy lifting without sufficient equipment and assistance, the Plaintiff

began developing persistent pain in his knees.

  16. The Plaintiff went to the onboard medical facility several times in effort to

obtain medical care for his symptoms. Plaintiff was provided with pain medication

to mask his symptoms and sent back to work thereby aggravating and worsening

his condition including, but not limited to, developing back and hip pain.


                                                        3
              L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                             WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 4 of 15 PageID 4




  17. The Plaintiff notified his supervisor of the ongoing medical condition and

pain but Plaintiff was required to continue working.

  18. Plaintiff repeatedly visited the onboard medical facility regarding his

ongoing and persistent pain. Further, Defendant failed to ensure the Plaintiff was

evaluated and/or treated shore side. As such, Plaintiff did not receive prompt,

proper or adequate medical care. Plaintiff was ultimately medically disembarked

and required ongoing medical care.

  19. As a result of this incident and due to the negligence of the Defendant,

Plaintiff suffered permanent and disabling injuries to his back and knees.

                      COUNT I – JONES ACT NEGLIGENCE

      Plaintiff re-alleges, incorporates by reference, and adopts paragraphs one (1)

through nineteen (19) as though originally alleged herein.

  20. On or about August 22, 2019, the Plaintiff sustained severe pain and injuries

to his back and knees while employed by DISNEY as a seaman and a member of

the crew of the Disney Magic, which was in navigable waters.

  21. Under the Jones Act, Defendant DISNEY owed the Plaintiff, its employee

and member of the crew, a duty to use ordinary and reasonable care under the

circumstances.

  22. It was the duty of Defendant DISNEY to provide Plaintiff with a reasonably

safe place to work.

  23. On or about August 22, 2019, Plaintiff was injured due to the fault and


                                                        4
              L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                             WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 5 of 15 PageID 5




negligence of Defendant DISNEY, its agents, servants, and/or employees.

Defendant DISNEY failed to use reasonable care to provide Plaintiff a reasonably

safe place to work by:

      a. Failing to provide proper crew and/or device(s), including adequate

         trolleys in condition and quantity for repetitive heavy lifting, carrying,

         pushing and/or pulling;

      b. Failing to provide personal protective equipment, supportive footwear

         and/or apparel to carry out his duties as a Dining Room Server;

      c. Failing to provide Plaintiff with proper lifting devices and/or sufficient

         assistance to perform his job duties in a reasonably safe manner;

      d. Failing to have adequate policies and procedures to prevent Dining Room

         Servers from becoming injured while repeatedly lifting, carrying, pushing

         and/or pulling heavy objects;

      e. Failing to provide Plaintiff with proper training and/or supervision with

         respect to repetitive heavy lifting, carrying, pushing and/or pulling;

      f. Failing to warn Plaintiff of the dangers of doing repetitive heavy lifting,

         carrying, pushing and/or pulling;

      g. Failing to provide adequate manpower to perform the work assigned to

         Plaintiff;

      h. Requiring Plaintiff to continue repetitive heavy lifting, carrying, pushing

         and/or pulling despite Plaintiff’s injury;


                                                        5
              L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                             WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 6 of 15 PageID 6




      i. Failure to eliminate and/or modify the hazard(s) which caused the

         Plaintiff to suffer his injury;

      j. Failing to adequately diagnose and/or treat Plaintiff’s injury;

      k. Failing to provide prompt, proper and adequate medical care to the

         Plaintiff when he sought medical attention for his injuries;

      l. Failing to promulgate and enforce reasonable rules and regulations to

         ensure the safety and health of the Plaintiff while engaged in the course

         of his employment on the Defendant DISNEY’s vessel;

      m. Failing to comply with the vessel’s policies and procedures regarding

         hazardous conditions aboard the vessel in order to provide Plaintiff a

         reasonably safe place to work;

      n. Failing to ascertain the cause of prior similar accidents/injuries so as to

         take measures to prevent their re-occurrence, particularly Plaintiff's

         accident/injuries, in violation of the Defendant DISNEY’s own ship

         board policies mandated by the ISM Codes’ requirements; and/or

      o. Failing to adhere to the Maritime Labour Convention, 2006 and the Code

         of Safe Working Practices for Merchant Seafarers with respect to safety

         procedures and processes.

  24. At all times material hereto, Defendant DISNEY negligently failed to

determine the hazards Plaintiff faced, failed to eliminate those hazards, failed to

modify those hazards and failed to warn the plaintiff of the hazard. In addition,


                                                        6
              L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                             WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 7 of 15 PageID 7




Defendant DISNEY violated the International Safety Management Code and failed

to have a proper, adequate and safe Safety Management System Manual or to

follow it on board the vessel on which the Plaintiff served. All of the above caused

the Plaintiff to suffer his injuries and did not receive adequate care for them.

  25. Defendant DISNEY knew of the foregoing conditions causing Plaintiff's

injury and did not correct them, or the conditions existed for a sufficient length of

time so that Defendant DISNEY in the exercise of reasonable care should have

learned of them and corrected them.

  26. As a result of the negligence of Defendant, DISNEY, the Plaintiff was injured

about Plaintiff’s body and extremities, suffered physical pain and mental anguish,

reasonable fear of developing future physical and medical problems, loss of

enjoyment of life, physical disability, impairment, inconvenience in the normal

pursuits and pleasures of life, feelings of economic insecurity caused by disability,

disfigurement, aggravation of any previously existing conditions, incurred medical

expenses in the care and treatment of Plaintiff’s injuries, suffered physical

handicap, lost wages, lost income in the past and his working ability and earning

capacity have been impaired. The injuries and damages suffered by the Plaintiff

are permanent and continuing in nature and Plaintiff will suffer these losses and

impairments in the future. In addition, Plaintiff in the past and in the future has

lost the fringe benefits that came with plaintiff’s job, including but not limited to

free food, free shelter, free medical care, free uniforms, vacation pay, the ability to


                                                         7
               L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                              WWW.LIPCON.COM
      Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 8 of 15 PageID 8




make extra money doing side jobs and free airline transportation to the vessel and

back home each contract.

      WHEREFORE, Plaintiff demands all damages entitled by law.

                        COUNT II – UNSEAWORTHINESS

      Plaintiff re-alleges, incorporates by reference and adopts paragraphs one (1)

through nineteen (19) as though they originally alleged herein.

  27. On or about August 22, 2019, Plaintiff was a seaman and a member of the

Disney Magic’s crew, which was in navigable waters.

  28. At all times material hereto, Defendant DISNEY owned, managed, operated

and controlled the vessel Disney Magic.

  29. Defendant DISNEY had the absolute non-delegable duty to provide Plaintiff

with a seaworthy vessel on which to serve, including a competent crew.

  30. The unseaworthiness of Defendant DISNEY’s vessel was a legal cause of

injury and damage to the Plaintiff by reason of the following:

      a. The vessel was not reasonably fit for its intended purpose due to the

         conditions created by Defendant as follows:

         1. Failing to provide proper crew and/or device(s), including adequate

            trolleys in condition and quantity for repetitive heavy lifting, carrying,

            pushing and/or pulling;

         2. Failing to provide personal protective equipment, supportive

            footwear and/or apparel to carry out Plaintiff’s duties as a Dining


                                                        8
              L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                             WWW.LIPCON.COM
Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 9 of 15 PageID 9




      Room Server;

   3. Failing to have adequate policies and procedures to prevent Dining

      Room Servers from becoming injured while repeatedly lifting,

      carrying, pushing and/or pulling heavy objects;

   4. Failing to provide Plaintiff with proper training and/or supervision

      with respect to repetitive heavy lifting, carrying, pushing and/or

      pulling;

   5. Failing to warn the Plaintiff of the dangers of repetitive heavy lifting,

      carrying, pushing and/or pulling;

   6. Failing to provide adequate manpower to perform the work assigned

      to Plaintiff;

   7. Requiring Plaintiff to continue repetitive heavy lifting, carrying,

      pushing and/or pulling duties, despite his injury;

   8. Sending Plaintiff back to work on pain killers after his injury;

   9. Requiring Plaintiff to work while injured;

   10. Failing to warn Plaintiff of the dangers of working while injured;

   11. Failing to warn Plaintiff of the dangers of working on pain killers while

      injured; and/or

   12. Failing to provide Plaintiff with prompt, proper, and adequate

      medical treatment.

b. The vessel’s crew, including Plaintiff’s supervisors and Defendant


                                                  9
        L   I P C O N   ,   M   A R G U L I E S   &   W   I N K L E M A N   ,   P . A .
                                       WWW.LIPCON.COM
Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 10 of 15 PageID 10




    DISNEY’s shipboard doctors, were not properly trained, instructed

    and/or supervised;

 c. Defendant created an unsafe working environment;

 d. The vessel did not have a fit crew;

 e. The vessel failed to provide Plaintiff with a safe working environment free

    of physical threats and/or dangerous conditions;

 f. The vessel’s medical personnel were not properly trained, monitored

    and/or supervised to promptly, properly and adequately diagnose and

    treat Plaintiff’s injury when he presented to the vessel’s medical center

    and as he continued to complain his condition became aggravated;

 g. The vessel’s medical personnel were not properly trained, monitored

    and/or supervised to provide Plaintiff with prompt, proper, and adequate

    medical care when he sought medical attention for his injuries;

 h. The vessel failed to carry and utilize competent, skilled and properly

    trained medical care providers on board and shoreside to provide

    Plaintiff with prompt, proper and adequate medical care;

 i. The vessel failed to carry and utilize proper and adequate medical

    equipment with respect to treating Plaintiff’s condition;

 j. The vessel failed to carry and utilize properly trained medical providers

    to medically manage Plaintiff’s medical care after he was injured; and/or

 k. The vessel failed to carry and utilize properly trained medical providers


                                                   10
         L   I P C O N   ,   M   A R G U L I E S    &   W   I N K L E M A N   ,   P . A .
                                        WWW.LIPCON.COM
     Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 11 of 15 PageID 11




          to provide Plaintiff prompt, proper and adequate medical care, which

          aggravated his injuries and caused his additional pain and disability;

          and/or

  31. As a result of the unseaworthiness of the vessel Disney Magic, the Plaintiff

was injured about Plaintiff’s body and extremities, suffered physical pain and

suffering, mental anguish, reasonable fear of developing future physical and

medical problems, loss of enjoyment of life, physical disability, impairment,

inconvenience in the normal pursuits and pleasures of life, feelings of economic

insecurity caused by disability, disfigurement, aggravation of any previously

existing conditions, incurred medical expenses in the care and treatment of

Plaintiff’s injuries, suffered physical handicap, lost wages, lost income in the past

and plaintiff’s working ability and earning capacity have been impaired. These

injuries and damages are permanent or continuing in nature and Plaintiff will

suffer these losses and impairments in the future. In addition, Plaintiff in the past

and in the future has lost the fringe benefits that come with Plaintiff’s job,

including but not limited to free food, free shelter, free medical care, free uniforms,

vacation pay, the ability to make extra money doing side jobs and free airline

transportation to the vessel and back home each contract.

      WHEREFORE, Plaintiff demands all damages entitled by law.

        COUNT III – FAILURE TO PROVIDE MAINTENANCE & CURE

      Plaintiff re-alleges, incorporates by reference, and adopts paragraphs one (1)


                                                         11
               L   I P C O N   ,   M   A R G U L I E S    &   W   I N K L E M A N   ,   P . A .
                                              WWW.LIPCON.COM
     Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 12 of 15 PageID 12




through nineteen (19) as though originally alleged herein.

  32. On or about August 22, 2019, the Plaintiff suffered injuries while in the

service of the Defendant DISNEY’s vessel, Disney Magic, which was in navigation.

  33. Under the General Maritime Law, Plaintiff, as a seaman, is entitled to

recover maintenance and cure from Defendant DISNEY until declared to have

reached maximum medical improvement (“MMI”) or maximum medical cure

(“MMC”). This includes unearned wages (regular wages, overtime and vacation

pay), which were reasonably anticipated to the end of the contract or voyage

whichever is longer.

  34. Defendant DISNEY willfully and callously delayed, failed and/or refused to

pay Plaintiff’s entire maintenance and refused to provide the Plaintiff the level of

cure that the Plaintiff needs so that Plaintiff has become obligated to pay the

undersigned a reasonable attorney’s fee.

  35. An MMI or MMC declaration must be unequivocal and, if not, any doubts or

controversy regarding whether or not the seaman is at MMI or MMC must be

resolved in favor of the seaman.

  36. Defendant DISNEY’s failure to pay Plaintiff’s entire maintenance and cure

is willful, arbitrary, capricious, in violation of the law and in callous disregard for

Plaintiff’s right as a seaman. As such, Plaintiff would be entitled to attorney’s fee

under the General Maritime Law of the United States. Furthermore, Defendant

DISNEY’s unreasonable failure to pay or provide Plaintiff with maintenance and


                                                         12
               L   I P C O N   ,   M   A R G U L I E S    &   W   I N K L E M A N   ,   P . A .
                                              WWW.LIPCON.COM
     Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 13 of 15 PageID 13




cure aggravated his condition and caused him to suffer additional compensatory

damages including, but not limited to, the aggravation of his physical condition,

disability, pain and suffering, reasonable fear of developing future physical and

medical problems, mental anguish, loss of enjoyment of life, feelings of economic

insecurity, lost earnings and earning capacity, and medical and hospital expenses

in the past and into the future.

         WHEREFORE, Plaintiff demands all damages entitled by law.

                                   COUNT IV – FAILURE TO TREAT

      Plaintiff re-alleges, adopts and incorporates by references paragraphs one

(1) through nineteen (19) as though originally alleged herein.

 37. On or about August 22, 2019, Plaintiff was employed by Defendant DISNEY

as a seaman and was a member of the Disney Magic’s crew. The vessel was in

navigable waters.

  38. It was the duty of Defendant DISNEY to provide Plaintiff with prompt,

proper and adequate medical care when he presented for treatment.

  39. Defendant DISNEY, through the ship’s physicians and/or nurses,

negligently failed to provide Plaintiff with prompt, proper, adequate and complete

medical care. This conduct includes, but is not limited to:

      a. Defendant not providing Plaintiff with prompt, proper and/or adequate

         medical care after he reported his injury to the ship’s doctor and/or nurse

         seeking treatment for his condition;


                                                         13
               L   I P C O N   ,   M   A R G U L I E S    &   W   I N K L E M A N   ,   P . A .
                                              WWW.LIPCON.COM
    Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 14 of 15 PageID 14




      b. Defendant not properly diagnosing Plaintiff’s injury;

      c. Defendant sending Plaintiff back to work after he reported his condition

         without adequately determining the risks to the Plaintiff’s health that

         sending him back to work would subject him to; and/or

      d. Defendant manipulating and directing Plaintiff’s medical care both

         shipboard and shore side in such a way as to minimize their expense and

         enable them to delay and/or deny the Plaintiff medical care that would

         improve and/or cure his condition.

  40. As a direct and proximate result of Defendant DISNEY’s failure, Plaintiff

suffered additional pain, disability and Plaintiff’s recovery was prolonged. In

addition, the Plaintiff was injured about plaintiff’s body and extremities, suffered

physical pain and suffering, mental anguish, reasonable fear of developing future

physical and medical problems, loss of enjoyment of life, physical disability,

impairment, inconvenience in the normal pursuits and pleasures of life, feelings of

economic insecurity caused by disability, disfigurement, aggravation of any

previously existing conditions, incurred additional medical expenses in the care

and treatment of plaintiff’s injuries, suffered physical handicap, lost wages, income

lost in the past, and Plaintiff’s working ability and earning capacity have been

impaired. These injuries and damages are permanent or continuing in nature and

Plaintiff will suffer these losses and impairments in the future.

  41. This Count is alleged separately from Jones Act Negligence pursuant to


                                                         14
               L   I P C O N   ,   M   A R G U L I E S    &   W   I N K L E M A N   ,   P . A .
                                              WWW.LIPCON.COM
    Case 6:22-cv-01359 Document 1 Filed 08/01/22 Page 15 of 15 PageID 15




Joyce v. Atlantic Richfield Company, 651 F. 2d 676 (10th Cir. 1981) which states,

in part, “Negligent failure to provide prompt medical attention to a seriously

injured seaman gives rise to a separate claim for relief [for which separate damages

are awardable].”

      WHEREFORE, Plaintiff demands all damages entitled by law.

Dated: August 1, 2022

                                                             LIPCON, MARGULIES
                                                             & WINKLEMAN, P.A.
                                                             Attorneys for Plaintiff
                                                             One Biscayne Tower, Suite 1776
                                                             2 S. Biscayne Boulevard
                                                             Miami, Florida 33131
                                                             Telephone No.: (305) 373-3016
                                                             Facsimile No.: (305) 373-6204

                                                        By: /s/ Stefanie A. Black
                                                            JASON R. MARGULIES
                                                            Florida Bar No. 57916
                                                            jmargulies@lipcon.com
                                                            STEFANIE A. BLACK
                                                            Florida Bar No. 111903
                                                            sblack@lipcon.com




                                                        15
              L   I P C O N   ,   M   A R G U L I E S    &   W   I N K L E M A N   ,   P . A .
                                             WWW.LIPCON.COM
